Case 8:21-cv-02567-VMC-UAM Document 40 Filed 03/25/22 Page 1 of 4 PageID 241




                      UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION
            CASE NO: 8:21-cv-02567-HERNANDEZ-COVINGTON/FLYNN

SOUTHERN-OWNERS INSURANCE
COMPANY,
        Plaintiff,
v.

GALATI YACHT SALES, LLC, et al.,
           Defendants.
_____________________________________________/

    DEFENDANT, GALATI YACHT SALES, LLC’S CERTIFICATE OF
 INTERESTED PERSONS AND CORPORATE DISCLOSURE STATEMENT

        COMES NOW Defendant, GALATI YACHT SALES, LLC, and pursuant to

Federal Rule of Civil Procedure 7.1, hereby files its Certificate of Interested Parties

and Corporate Disclosure Statement as follows:

       1.       The name of each person, attorney, association of persons, firm, law

firm, partnership, and corporation that has or may have an interest in the outcome

of   this     action—including      subsidiaries,   conglomerates,   affiliates,   parent

corporations, publicly-traded companies that own 10% or more of a party’s stock,

and all the other identifiable legal entities related to any party in the case:

             a. Jeffco Marine Inc.
                c/o Morgan & Morgan Tampa, P.A.
                101 Riverfront Boulevard, Suite 600
                Bradenton, FL 34205

             b. Jefferson Foraker
Case 8:21-cv-02567-VMC-UAM Document 40 Filed 03/25/22 Page 2 of 4 PageID 242




            c/o Morgan & Morgan Tampa, P.A.
            101 Riverfront Boulevard, Suite 600
            Bradenton, FL 34205

         c. Galati Yacht Sales, LLC
            c/o Chalos & Co. P.C.
            2030 South Douglas Road, Suite 117
            Coral Gables, Florida 33134

         d. GMI Holding Company
            900 South Bay Boulevard
            Anna Maria, Florida 34216

         e. Carri Leininger, Esq.
            Williams, Leininger & Cosby, P.A.
            11300 US Highway One, Suite 300
            North Palm Beach, FL 33408

         f. Maureen Martinez, Esq.
            Williams, Leininger & Cosby, P.A.
            11300 US Highway One, Suite 300
            North Palm Beach, FL 33408

         g. Red Lion, LLC
            900 Brickell Key Boulevard, Suite 3004
            Miami, Florida 33131

         h. Southern-Owners Insurance Company
            c/o Williams, Leininger & Cosby, P.A.
            11300 US Highway One, Suite 300
            North Palm Beach, FL 33408

         i. Travelers Property Casualty
            Company of America
            c/o Chalos & Co., P.C.
            2030 S. Douglas Road, Suite 117
            Coral Gables, Florida 33134



                                      2
                               www.chaloslaw.com
Case 8:21-cv-02567-VMC-UAM Document 40 Filed 03/25/22 Page 3 of 4 PageID 243




         j. Michelle Otero Valdés, B.C.S.
            Chalos & Co., P.C.
            2030 S. Douglas Road, Suite 117
            Coral Gables, Florida 33134

         k. Manuel F. Valdés, Esq.
            2030 S. Douglas Road, Suite 117
            Coral Gables, Florida 33134

         l. Joel Williams, Esq.
            Morgan & Morgan Tampa, P.A.
            101 Riverfront Boulevard, Suite 600
            Bradenton, Florida 34205

      2. The name of every other entity whose publicly-traded stock, equity, or

debt may be substantially affected by the outcome of the proceedings:

         a. None.

      3. The name of every other entity which is likely to be an active participant

in the proceedings, including the debtor and members of the creditors’ committee

(or twenty largest unsecured creditors) in bankruptcy cases:

         b. None.

      I hereby certify that, except as disclosed above, I am unaware of any actual

or potential conflict of interest involving the district judge and magistrate judge

assigned to this case and will immediately notify the Court in writing on learning

of any such conflict.


                                            Respectfully submitted,

                                      By:   /s/ Michelle Otero Valdés
                                       3
                                www.chaloslaw.com
Case 8:21-cv-02567-VMC-UAM Document 40 Filed 03/25/22 Page 4 of 4 PageID 244




                                               Michelle Otero Valdés, B.C.S.
                                               Florida Bar No. 14990
                                               Chalos & Co, P.C.
                                               2030 S. Douglas Road, Suite 117
                                               Coral Gables, Florida 33134
                                               Tel: (305) 377-3700
                                               Fax: (866) 702-4577
                                               E-mail: mov@chaloslaw.com
                                               Attorneys for Defendant,
                                               Galati Yacht Sales, LLC

                            CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on March 25, 2022, the foregoing document is

 being filed with this Court and served on all counsel of record or pro se parties

 identified on the Service List in the manner specified, either via transmission of

 Notices of Electronic Filing generated by CM/ECF or in some other authorized

 manner for those counsel or parties who are not authorized to receive

 electronically Notice of Electronic Filing.

                                               /s/ Michelle Otero Valdés
                                               Michelle Otero Valdés, B.C.S.

                                  SERVICE LIST
Maureen Martinez, Esq.
                                              Joel Williams, Esq.
James O. Williams, Jr.
                                              Morgan & Morgan Tampa, P.A.
Carri S. Leininger, Esq.
                                              101 Riverfront Blvd., Suite 600
Williams, Leininger & Cosby, P.A.
                                              Bradenton, Florida 34205
11300 US Highway One, Suite 300
                                              Telephone No. (941)308-2401
North Palm Beach, Florida 33408
                                              Email: jwilliams@forthepeople.com
Telephone No. (561)615-5666
                                              Secondary: dmcdonald@forthepeople.com
Facsimile No. (561)615-960
                                              Attorney for Defendant Jefferson Foraker
Email: eservice@wlclaw.com
Attorneys for Southern-Owners Insurance
Company                                 4
                                  www.chaloslaw.com
